                                                                           rlO PS OFFICE U,S.Diz'
                                                                                                lCQiotç'
                                                                                 AT ROANOKE,ï'A
                                                                                      FILED
                      IN TH E U N ITED STATES D ISTRICT CO U RT
                     FO R T H E W ESTE RN D ISTRICT OF W RGIN IA                  DE2 âi.2218
                                  ROAN O U D IW SIO N                          Ju       DLEY   uRK
                                                                             BY::.t'
                                                                                  .
  CO LETTE M . W ILCO X,                                                                 j
                                                                                         :y
                                                                                          ;
                                                                                          i

        Plaintiffy                                Case N o.7:17-cv-000530



  N ATHAN H .LYON S,ESQ.,clp-1
                             =                    By:M ichaelF.U tbansld
                                                  ClziefUnited StatesDisttictJudge
        D efendants.

                              G   M O RAN D U M O PIN IO N

        Thisisan em ploym entacdon adsing underbot.h federaland state law.Plainéff

  ColetteM.W ilcox (<%Vilcox'')ftled thisemploymentacion putsuantto42 U.S.C.j1983,
  alleging violationsofherdueprocessrightsunderthe Fourteenth Am enclm entto theU nited

  StatesConsdtudon.D efendantsm oved to dismissW ilcox'scbim s.ECF N o.35.Thecourt

  held a heating on D efendants'ftrstm odon to clism isson M arch 22,2018,and subsequently

  enteredanorderdismissingwithprejudiceW ilcox'sclsimsagainstCarrollCountyaswellas
  herhostileworkenvitonmentclcim agninstdefendantsNathanH.Lyons,Esq.,rtyonsll,
  theCommonwealth AttorneyforCarrollCounty,andPhillip C.Steele,Esq.tffsteele''l>a
  D eputy Com m onwealth Attorney forCatrollCounty.ECF N o.22.The cout.
                                                                      tdism issed

  withoutpzejudiceW ilcox'sclnimsofsexdiscritninadon,retaliation,anddepdvadonofliberty
  interest.ECF N o.22.The cotutalso gaveW ilcox leaveto am end.W ilcox's statelaw battery

  clnim againstSteelesurdved the ftrstm otbn to dism iss.ECF N os.32-33.

         W ilcox m oved forreconsideradon ofthe court'sM arch 23,2018,orderregarding her

  retaliaéon clnim .ECF N o.24.The cota'tentered an orderdenying W ilcox'sm oéon for

                                              1
Case 7:17-cv-00530-MFU-RSB Document 44 Filed 12/06/18 Page 1 of 12 Pageid#: 414
 reconsideratbn.ECFNo.33.W ilcoxthenflledan amendedcomplaintinwhich she(1)
  asserted addiéonalfacttzalm attersupporting herclnim fordeprivadon oflibertyinterest

  (Count11),(2)restatedherbatteryclnim (Count111),and(3)reassertedherretaliationcbim
  (CountI).Wilcox'samendedcomplaintdidnotprovideanynew factualmattetforthecourt
  to considervis-à-visthe tetaliaéon clnim .CountIwastherefore disnlissed.1d.The only

 rem aining clnim sin the am ended com plaintare Count11againstLyonsand CountIII

  agsinstSteele.

        Them atterpzesentlybeforethe courtisD efendants'm odon to dismissW ilcox's

  amendedcomplaintpursuanttoRule129$(6)oftheFederalRulesofCivilProcedlzre.ECF
  N o.35.W ith respectto CountII,D efendantsarguethatW ilcox failsto statea cbim because

  thefactsallegedarefalse.Ii.at10-11.lndeed,DefendantsstatethattheW ilcox'sallegadons

  astoCount11arefjustabsolutelyconttatytothefacts,factsindeedM s.Wilcoxandher
  attorney know to be false.''ECF N o.35,at11.Tlnisargum entisinapposite asthefacts

  alleged by W ilcox aretaken astrue atthem otion to disnnissstage.Ibarrav.United States,

  120F.3d472,474 (4th Cir.1997).DefendantsfurtheratguethatWilcoxfailstostateaclnim
  forCount11becauseW ilcox inidated the aclm irlisttadve cllim sprocess* t.11the Virginia

  EmploymentCommissionrtVEC''),ECF No.35,at5-6,relyingonBisho v.W oodforthe
  proposidonthatpubliclyftleddocllmentsandstatementsmadeinajudicialpzoceecling
  comm enced bytheplaintiffaftershesuffezed herallegeditjurycannotretroacdvelysupport
  acauseofacdon fordeprivadon ofliberty.426U.S.341,348(1976).Defendantsmoveto
  dislnissCount111,atgaing thatSteelewasnotacdng underthecolorof1aw and state 1aw is

  notto beenforcedin federalcourtthrough 42U.S.C.j1983,and that,in anyevent,W ilcox


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  failedtoadequatelypleadtheTfvoliéonalacévitf'elementreqlnit'edtostateaclnim fot
  batlery undetVirginialaw .ECF N o.35,at11-16.

        Forthereasonssetforth below,W ilcox hasfailed to allege factssuffkientto support

  herdeprivadon oflibertyclnim in CountII.In lightofthedisnlissalofW ilcox'slast

  remainingfederalclsim,thecotutdeclinestoexetcisesupplementaljutisdicdonoverCount
  111,herstate-law claim forbattery,anddisnaissesthatclnim withoutprejudice.Themodon
  to dismissCount11and CountI11istherefoteG RAN TED .

                                              1.

        Rule124$(6)oftheFederalRulesofCivilProcedureallowsforapartytomovefor
  dism issalwhen a complnintfailsto state aclnim forwllich reliefcan begranted.To suw ivea

  Rule129$(6)modonto disrniss,acomplaintmustcontninsufficientfffactstostateaclnim
  toreiefthatisplausibleon itsface.''BellAtl.Co .v.Twombl,550U.S.544,570(2007).
  A plninéffestablishestffacialplausibilitf'bypleaclingTffacttzalcontentthatallowsthecotzrt
  to draw thereasonable inferencethatthedefendantisliable forthe misconductalleged.''

  Ashcroftv.I bal,556U.S.662,678 (2009).Thecomplnint'sTçgfjactazalallegationsmustbe
  enough to raise arightto reliefabove the speculadve level.''Twom bly,550 U.S.at555.In

  rulingona129$(6)motion,thecourtmustacceptallwell-pleadedallegadonsinthe
  complaintastrueand draw allzeasonablefactualinferencesin thelkhtmostfavorableto the
  plainéfilIbarrav.United States,120 F.3d at474.H ow ever,acouttdoesnotneed to accept

  either fflegalconclusionsdrawn from facts''orffunwarranted inferences,unteasonable

  conclusions,orarguments.''E.ShoreM kts.,Inc.v.J.D.Assocs.Ltd.P'sllip,213F.3d 175,
  180 (4th Cir.2000).Further,ffgtjhteadbarerecitalsoftheelementsofacauseofacdon,

                                              3
Case 7:17-cv-00530-MFU-RSB Document 44 Filed 12/06/18 Page 3 of 12 Pageid#: 416
     supported by m ere conclusory statem ents,do notsufhce.''Lt)b.
                                                                  g1,556U.S.at678.Onlyafter
                                                                               .




     aclnim isstated adequately m ay itthen (Tbe supported by showing any setoffactsconsistent

     with theallegaéonsin thecom plaint.''Twom bl ,550 U .S.at546.

                                                            II.

             The Fourteenth Am endm entptotectsthe ffrightto procedutaldue processw hen

     governm entalaction thteatensa petson'slibertyinterestin histeputaéon and choice of

     occupaéon.''ltidpathv.Bd.ofGovernorsM arshallUniv.,447F.3d292,307(4t.hCir.2006).
     The Foutth Citcuithasdetetm ined thatto statea clmim fotdeprivadon ofalibertyintetestin

     one'sreputation otchoiceofoccupation plztsuantto42U.S.C.j1983,aplnintiffmustallege
     (1)thatthechatgesmadeagainstherimposed on herasdgmathatpreventedherfrom
     engaginginotheremployment,(2)thatthechargeswezemadepublicbyheremployer,(3)
     thatthechargesweremadein conjuncdon with atet-minaéon orsignificantdemodon,and
     (4)thatthechargeswerefalse.ltonev.Universi ofMd.Med.S s.Co .,855F.2d 167,
     173n.5(4thCir.1988)(citingBoardofRe entsofStateColls.V.Roth,408U.S.564,573-
     75(1972)9seeBisho v.W ood,426U.S.341,348-49(1976).1
                                                            A.



 '


     1                   .
      W ilcoxhasno cogmza  blepropertyinterestin herposidon attlleCarrollCountyCom m onwealthA ttom ey:)sO ffce
     because she wasan at-willemployee.H owever,a publicem ployerclnnotdeprive atzemployee ofherfffreedom to take
     advantageofotheremploymentopporrutlidesa''Sciolinov.Ci ofNe ortNews,480F.3d642,646(4thCit.2007).
     Wilcox'scbim thusazisesfrom thecombinadonoftwoclistinctrkhtsprotectedbytheFourteenthAmendment:(1)the
     liberty '''to engagein any ofthe com m on occupaéons of1ife,''Bd.ofRe entsofState Colle esv.Roth,408U .S.564,
     572(1972)(quotingMeyerv.Nebraska,262U.S.390,399(1923))9and(2)thedghttodueprocess''lwjhezeaperson's
     good nam e,reputadon,honor,orintegrity isatstake because ofwhattlze governm entisdoing to h1
                                                                                                'm .''W isconsin v.
     Constandneau,400U.S.433,437(1971)9seealsoPaulv.Davis,424U.S.693,701(1976)(expbiningthataninclividual's
     liberty interestin llisreputadon isonly sufscient'to itw oke thepzoceduralprotecdon oftheD ueProcessClause''if
     combinedwith''somemoretangibleinterestgsuchasemployment'l.''Ld.aTostateacbim fortlzistypeoflibeztyinterest
     then,theplainéffm ustprove the fourelementslaid outin Sciolino v.City ofN ewpol
                                                                                   'tN ews.Va.,480 F.3d 642,646
     (4thCir.2007).


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        W ith respectto the fttstelem ent,W ilcox allegesthatherwrongfultet-minaéon

 resulted in a ségm aézed and severely dim inished professionalreputadon within Carroll

  Countyand thtoughoutSouthwestVirginia.SeeCompl.,ECF No.34,at11!J74-81,111-12.
 W ilcox clnim sthatLyonspem etuated thisstigm arelated to herwork perform ance by

  petidoning the CircuitCourtofCarrollCounty to overturn an awatd ofunem ploym ent

  benefhsawalded to W ilcox from the'VEC.In flzrtheranceofthispeddon,W ilcox alleges

  thatLyonsflled dam agingpleadingsand m ade dam aging statem entsthtough counselin open

  courtduringoralargumenton March 29,2017,beforeCitcuitCourtludgeDavidA.
 M elesco.Id.at!! 75-81,112.M orespecifkally,Wilcoxclnimstheaforemendoned
  documentsand statementssu% estthatW ilcox:(1)engageditlmisconductatherplaceof
  employmentasdefinedbyVirginiaCodej60.2-618,(2)engagedinwillfulinsubordinadon
  andtlmtsaidherinsubozdinaéonwastosuchahighdegree,thatasingleincidentjusdhed
  hettetnaination,(3)failedtofollow anattendahcepolicy,and(4)actedunreasonably
 regarding herduéesasa prosecutor.Id.

         W ith respectto the second and tlnitd elem ents,W ilcox clqim sthatLyonsm ade

  statem entsffthrough counsel''in open couttpetidoning the CircuitCoul'tofCarrollCounty

  to ovetturn an aw ard ofunem ploym entbenefksW ilcox received becauseofherternlinaéon.

 J-d.aat! 76.W ilcox notesthatLyons'peddoninvolved lengthybrieo gsbypardes,oral
  argum ents,and public fllingsdirectlyrelated to hezterm inadon,and thatthe fTstigm atizing

  pleadingsrem ain atthe Clerk'sO ffice ofCatrollCounty forpublicinspecdveby anyone.''

 Ld.aat!!(76-78.W ilcox aversthatthestatementsutteredbycounselforLyonsweremadein
  a forum frequented by W ilcox'speersand prospecéveem ployersand thattheVizginia



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  Suprem e Court'sonline caseinform adon websiteindicatesthe nam esofportiesitw olved and

  theexistenceofpleadings.Id.at!! 80-81.Wilcox furtherallegesthathertet-minadonwas
 w ellknown within thesm allcom m unity ofCarrollCounty and thatprospecéveem ployers

  haverequested w hether she hasbeen te- inated,req'niting herto describethe

  circumstances.Id.at!!107-8.Finally,sheallegesthatthissdgmarestlltedditectlyfrom
  statementsmadeafterandin conjuncéonwith herterminadon.Id.atjl!75-81,112
        W ith respectto the foutth and finalelem ent,W ilcox allegesthe falsity ofthe

  statementsmadein connecéon wit.h hetternainaéon.Id.at!! 72,75,105-06,109.Wilcox
  clqim sthatLyons'accusaéon ofinsubordination w aspre-texm al,thatshe only exhibited

  excellentwork perform ance throughoutherem ploym ent,and thatshe wasalways

 professionaland courteousdespite the allegedly hostllework environm ent,hatassm ent,and

  sexualcliscriminadon sheenduzed.Id.at!! 72,98,116.W ilcoxclnimsthatsheremnined
  Tfprofessionalandcotdial''llothwhenLyons(1)accusedherofvioladngstatepolicyby
  takingtoomuchleaveandwhenhesubsequently(2)requestedthatshesignawdtten
  repzim and docum enting tbisviolaéon.Idaat!!J61-67.W henshesoughtclatif
                                        .                               kationby
 requesting a copy oftherelevantpolicy to wllich Lyonshad referred,W ilcox clnim sthat

 Lyonssuddenly turned lnisback,taised lnisvoice,and ternainated herforTdinsuborclinaéon.''

 Ldaat!! 66-68.Wilcox clnimsto havebeen perfot-mingherwork sadsfactorilyatthetimeof
  herterrnination bym eetingorexceedingLyons'legitim atebusinessexpectadons.Id.at$1J
  97,115-16.Finally,W ilcox contendsthatthefalse accusadonsleveled byLyonsTfhgvem ade

  itdifikult,ifnotim possible''to gain em ploym entin CarrollCounty orin surrounding

  coundes.Id.at! 11.

                                               6
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                                              B.

        Forreasonssetforth below,the courtfindsthatW ilcox hasnotadequatelypled the

  flrstelem ent,i.e.,whetherherterm ination im posed on hera sdgm a precluHing herftom

  engaginginothezwork.Thecourtwithholdsjudgmentsastotheremniningelements.In
  orderto im plicate aprotected libettyinterest,the sdgm aW ilcox allegesattached to het

  professionalreputadon <Tm ustatleastTim ply the existence ofseriouscharacterdefectssuch

  asclishonestyorimmotaliy 'V atrnightseriouslydamagegher)stancling and associadonsin
  gherjcommunitf orfforecloseljgher)freedom totakeadvantageofotheremployment
  opport-urliées.'''Ze v.Rehrmann,79F.3d381,387(4thCir.1996)(quotingRobertsonv.
  Ro ers,679F.2d 1090,1092 (4th Cir.1982)and Bd.ofRe entsv.Roth,408U.S.564,573
  (1972)).ln assessinglibettyinterestclnims,theFourth Citcuithasdistinguished between
  statem entsthatimply such seriouscharacterdefectsfrom thosethatm erely im ply

  ffincom petence,''the form etbeing àcdonable,thelatternot.Rid ath v.Bd.ofGovernors

  MarshallUnin,447F.3d292,308(4thCir.2006)9com areBostonv.W ebb,783F.2d1163,
  1165-66(4thCir.1986)(recognizingthatplaindfi'slibettyinterestTfwassurelyimplicated''
  by public announcem entthathewasclischarged afterfniling to disprove allegation of

  receivingbribe),Coxv.N.Va.Trans .Comm'n,551F.2d 555,557-58(4th Ciz.1976)
  (affirming trialcourt'sdete= inadon thatplninéfpslibertyinterestwasinfringedwhen
  em ployerpublicly linked herdischazgeto investigadon offmancialitregalatides,thus

  fTinsinuatingdishonestf),andMcNeillv.Butz,480 F.2d 314,319-20 (4th Cir.1973)
  (concluding thatfederalemployees'libertyinterestswereimplicatedby government-
  em ployer'schargesofAgziculture D epartm entregtzladon violaéonsthattfsm ack of



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 deliberatefraud''andfTineffectallegedishonestf),wit.
                                                    hZe v.Rehrmarm,79F.3d381,
 388(4thCir.1996)(rejecdngdeprivadonoflibertyinterestclnim whereemployerannounced
 thatplaindffwasbeing forced to retire ffdue to m anagem entproblem s'?- an accusadon,at

 most,ffofincompetenceorunsaésfactoryjobperformance7),andRobtrtson,679F.2dat
  1091-92(concluciingthatlibertyinterestwasnotimplicatedbynontenewalofemployment
 conttactfor<Tincom petence and outside activiées,''because such allegaéonsclid notinvolve

 attackon plaindff'sintegrityorhonor).
        H ere,W ilcox allegesthatLyonsm adepublic the following false,ségm adzing charges:

  (1)W ilcoxengagedin rnisconductatherplaceofemploymentasdefined byVitginiaCodej
  60.2-618,(2)WilcoxengagedinwiIIfUIitlsubordinaéonandthatsaidherinsubordination
 wastosuchahighdegree,thatasingleincideqtjustihedhertettninadon,(3)Wilcoxfailedto
  follow an attendancepolicy,and (4)Wilcoxacted unreasonablyregarding herdudesasa
 prosecutor.JA at!!I78,105,109.Thecouttfindsthatsuchcharges,whileunfavorableto
 W ilcox,am ountto no m otethan thatwhich theFourth Circuitand m any othercourtshave

  deem ed insufficientto im ply ffsetiouscharacterdefects''and have held arenotofasufûcient

  m agnittzde to ziseto theleveloflibertydeprivaéon.The chatge ofTfinsuborclination,''for

  example,isnotsufficientlységmatizingtoestablishadijrivadonofliberty.Seeltid ath,447
  F.3dat308-099Dunnv.Town ofEmerald Isle,1990W L 180977,at*4 (4th Cir.Nov.26,
  1990)(holdingthatclqimsthatplaintifffailedto perform required duties,demonstmted a
  lack ofcooperadon and discourteoustreatm enttow ardsothers,and displayed an

  insuborclinateattim de do notallege seriouschazacterdefectsand therefore asinsuffkientto

  stateaclnim asamatteroflaw).In Harm on v.O pmberland CountyBoard ofEducadon,for

                                              8
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  example,theplqindff,anniddle schoolspecialeducadon teacher,argued thata decision not

  torenew heremployment,basedon fffabricatçdcomplaintsregatdinghercharacterandjob
  petformance,''fTblemishged)herzeputadonand fozeclosedhercurrentabilityto :nd work as
  ateacher.'?186F.Supp.3d 500,508(E.D.N.C.),affd,669F.App'x 174(4th Cir.2016).The
  aEegedly fabricated com plnintswerem em orialized in aletterrecom m ending non-renewal,

  and included allegationsofthe plaindff'sffinability to m aint/in effecdve classroom

  m anagem entofsttzdents''and <fpersonalbehaviorthatw asinsuborclinateand

  contempmous.''Ldaat504.TheHarmon courtconcluded thatthesegarden-vatietycharges

  ofTTunsatisfactoryjob perfo= ance''and fv subordinadon''do notimplyf<seriouscharacter
  defects.'?Id.at508.

         Futthermore,in Sticltle v.Sutherl,theplaintiffbroughtaj1983depdvadonof
  liberty action alleging thathisreputadon wastarnished and hisabilityto seek em ploym ent

  wasim paired following histetminaéon from theStrasburgPolice D epar% ent.2009W L

  1806657,at*6(W.D.Va.lune24,2009).TheplaindffwasterminatedKffortakinggnfacdon
  which gwould)impairtheefikiencyorreputation ofthedepartment,itsmembers,or
  employees'and fgjnsubozdination orsedousbreach ofdiscipline.'''Id.at*6.TheSdclcley
  cotzrtheldthattheseffchargesrelatedtoSdckley'sjobperfo= ance...(andjdonot
  im plicate alibertyinterestbecauseon theitown they do notim ply thatSéckley hasa serious

  character defectlike dishonesty orim m oralitp''1daThe clnim thatW ilcox Tfacted

  unreasonablyregatdingherjob dudesasaprosecutor':issimilatlyinsufficienttoimplicate
  theFourteenth Am endm ent.See e. .,Ludwi v.Bd.ofTrusteesofFerrisStateU nin ,123

  F.3d404,410(6thCit.1997)Solclingemployeenotdeprivedofalibertyinterestwhen

                                                9
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     em ployerstated only thatthe em ployeewasterm inated because ofdfim properorinadequate

     performance,incompetence,neglectofduty....'');Gre o v.Hunt,24F.3d781,783(6th
     Cir.1994)(findingno deprivaéon oflibertywhereemployeetetvninated forffinadequate
     work perfozmance...faillurejto follow clearinsttnlctions...(and)fozviolating
     deplrtmentalpoliciesandpzocedures');Etterv.S encer,548F.Supp.2d248,250(W.D.
 '
     Va.2008)Soldingthatffgajllegadonsofincompetenceorunsaésfactoryjobperformanceate
     notsufficiently ségm atizing to establish adeprivatbn ofaliberty interest''and

     ffgmlismanagementoffundsisliltewisenotaseriouscharactetdefectwhosepublicaéon
     wouldseriouslydamageanemployee'sreputadon''(ciéngRussillov.Scarborou h,935F.2d
     1167,1172(10+ Cir.1991))9Gaskinv.Vill.ofPachuta,484F.Supp.2d551,556(S.D.Miss.
     2007)Solclingthatstatementsthatanemployeehasbeen fftetvninatedforhisorher
     inadequatejobperfozmance,suggestamerefsituaéonaldifiklaltyratherthan abadgeof
     infamy,publicscorn,orthelike,andhencedo notgiveriseto alibeztyinterest(citadonsand
     quotationsonaittedl).
             The courtfindsthatthe chargesleveled againstW ilcox and allegedly disclosed by

     Lyons,because they are closely analogousto thosein H ntm on,Sticldey,Robertson,and

     Z-
      epg,andafarcryfrom thosein>                       ,W ebb,andCox,donotpresentacognizableclnim
     forrelief.zlndeed,those chargesW ilcox allegesLyonsffm adepublic''relate to

     insubordinaéon,attendance,and incom petence,allofwhich,asin Sdckle ,in tllrn relate

     2W ilcox V egesthatone ofthestigm atizing chargesleveled againstherin connecdon w1:1:the CarrollCounty Circuit
     CourtproceedingwasffmisconductathezplaceofemploymentasdeG edbyVizginiaCodej60.2-618.''Whilethis
     statute coversan array ofntisconduct,W ilcox herselfindicatesthatffmisconduct''speciically referred to non-acdonable
     chargesofabsenteeism and/orinsubordinadon.W '
                                                 llcoxhasnotpled factssufhcienttosuppoztanyotherimplicadon.
     Indeed,according to tlzeam ended com plaint,the incidentthatgave zise to the charge ofinsubozclinadon related
     exclusively to Lyons'reprim and ofW ilcox foraflalleged violadon ofa policy regarding leave accrual.ECF N o.34,at7-
     1O;seealso ECF N o.37,at2-3.Ifthereisreasontobelievethatthatthechargeofffm isconduct''connotedatl 'g
     othertlzan thosefactswhich W ilcox herselfhasspecifcallypled,shehasfafledto plead asm uch.
                                                              10
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  prùm tilytoherTjobperformancey'?andthereforedonot,asamatteroflaw,risetothelevel
  ofliberty deprivadon.Indeed,the chargesagainstW ilcox do not,asin Ri ath,W ebb,or

  Cox,insinuate specific chargesofm oralturpitude,ctim inalacdvity,or seriouscharacter

  defectssuch asdishonestyorimm orality,nordoesW ilcox ffallegeg thesechargescarrysuch
  aconnotadon.''Sdckle ,2009 W .
                               L 1806657,at*6.Id.Though W ilcox'sterminaéon ffm ight

  make (her)somewhatlessattractiveto someotheremployerslyj''themerefactthatshewas
  discharged Tfwotlld hazdly establish the kind offoreclosute ofopportazniéesam ounting to a

  deprivadon oftbertf''undertheFourteenthAmendment.Roth,408U.S.at574n.13.ln
  sum ,W ilcox hasnotadequately pled a crucialelem entrequired to statea cllim for

  deprivation oflibertyptusuantto 42U.S.C.j1983,andaccordingly,themoéon to dismiss
  Count11isGRAN TE D .3

                                                       111.

          W ilcox'srem aining clsim ,Count111,isin federalcout'tonly undetthe doctdne of

  pendentjutisdicéonandhenceispropetlydisnaissedonjutisdicéonalgroundsattlzisearly
  pretrialstageoftheproceedings.28U.S.C.j1367(c)(3);seeCatne 'e-MellonUniv.v.Cohill,
  484U.S.343,350n.7(1988)9UnitedMineW orkersofAm.v.Gibbs,383U.S.715,726


  3In Bisho v.W ood,theSuprem eCourtrem indedlowercouzts:
                  ff'
                    l'
                     he federalcourtisnottheappropliate fornm in which to review them uldtudeof
                 personneldecisionstlzatarem ade dailyby public agencies.W em ustaccept
                 theharsh factthatnlpm erousinclividualmistakesareinevitableitzthe'day-to-day
                 adm inl 'stzadon ofotu affairs.'FheU nited StatesConsdtudon cnnnotfeasiblybe
                  constnledtorequirefederaljudicialreview foreverysucherror.Intheabsenceof
                  any clqim thatthepublic em ployerwasm odvated by a desireto cut'tailorto
                  penalizetheexerciseofanemployee'
                                                 sconsdmdonallyprotectedzkhts,wemust
                  presllme thatofhcialacdon wasregularand,iferroneous,can bestbe cortected in
                  otherways.The DueProcess Clauseofthe Fouzteenth Am endm entisnota
                  guaranteeagainstincorrectorill-advised persorm eldecisions.''
  426U.S.341,349-50(U.S.1976).

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  (1966)9ESAB G .lnc.v.ZtMchIns.PLC,685F.3d376,394(4t.hCir.2012);Shana hanv.
  Cahill,58F.3d106,110(4thCir.1995).
                                          IV .

        Fortheforegoingreasons,thecourtDISM ISSESwithprejudiceDefendants'
  motiontodismissCount11andDISM ISSESwithoutptejudiceCountIIIofW ilcox's
  FitstAm ended Com plaint.

        An apptopriate orderG IIbe entered.

                                                   Entered: /J - JY .--2/ /J


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